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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
       ------------------------------X Docket#
       UNITED STATES OF AMERICA,     : 23-cr-00236-FB-2
                                     :
                                     :
            - versus -               : U.S. Courthouse
                                     : Brooklyn, New York
       NICHOLAS CERAOLO,             :
                                     : June 8, 2023
                       Defendant     : 11:22 a.m.
       ------------------------------X

                TRANSCRIPT OF CRIMINAL CAUSE FOR ARRAIGNMENT
                    BEFORE THE HONORABLE ROBERT M. LEVY
                       UNITED STATES MAGISTRATE JUDGE


       A    P    P      E     A   R     A     N    C     E     S:


       For the Government:                  Breon S. Peace, Esq.
                                            United States Attorney

                                  BY:       Alexander Mindlin, Esq.
                                            Adam Amir, Esq.
                                            Assistant U.S. Attorneys
                                            271 Cadman Plaza East
                                            Brooklyn, New York 11201



       For the Defendant:                   Robert Apelton, Esq.
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 1                THE CLERK:     Criminal Cause for Arraignment on

 2   the indictment, USA v. Nicholas Ceraolo, case number 23-

 3   cr-236.

 4                Counsel, please state your name for the record.

 5   Appearing for the government?

 6                MR. AMIR:     Good morning, your Honor.             Adam Amir

 7   for the government.

 8                MR. MINDLIN:        And AUSA Alexander Mindlin for

 9   the government, your Honor.

10                THE COURT:     Good morning.

11                THE CLERK:     Thank you.        And for Mr. Ceraolo?

12                MR. APELTON:        Good morning, your Honor.           Robert

13   Apelton on behalf of Nicholas Ceraolo, who's with me

14   seated at counsel table.

15                THE CLERK:     Thank you.

16                THE COURT:     Good morning.          Sir, could you say

17   your name for the record, please?
18                THE DEFENDANT:        Nicholas Ceraolo.

19                THE COURT:     Thank you.        So good morning.        I

20   just want to advise you you have the right to remain

21   silent.     Anything you say here today can be used against

22   you.    Even if you've made statements to the government,

23   you don't have to say anything else.               And you're sitting

24   next to your lawyer.        You can consult with him before you

25   say anything.       Do you understand?




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 1                THE DEFENDANT:        Yes.

 2                THE COURT:     All right.        So we're here because

 3   the grand jury has returned an indictment that names you

 4   on some criminal charges.           Have you had a chance to read

 5   the indictment?

 6                THE DEFENDANT:        Yes, your Honor.

 7                THE COURT:     And have you discussed it with your

 8   lawyer?

 9                THE DEFENDANT:        Yes, your Honor.

10                THE COURT:     Do you fully understand the charges

11   or do you need them explained to you at this time?

12                THE DEFENDANT:        I fully understand.

13                THE COURT:     Counsel, would you like me to read

14   the indictment publicly?

15                MR. APELTON:        No.

16                THE COURT:     And how does he plead?

17                MR. APELTON:        He pleads not guilty to all
18   charges, your Honor.

19                THE COURT:     And I see there's an application

20   here to exclude time.

21                MR. AMIR:     Yes, your Honor.          There's an

22   application to exclude time from today until September 7,

23   2023 under the Speedy Trial Act.

24                MR. MINDLIN:        And your Honor, I should add that

25   Judge Block set the first status conference for that date




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 1   and we have his permission to exclude time.

 2                THE COURT:     Oh, okay.       Counsel, have you

 3   explained to your client what it means to exclude time?

 4                MR. APELTON:        I have, your Honor.

 5                THE COURT:     And are you satisfied that his

 6   consent is knowing and voluntary?

 7                MR. APELTON:        I am.

 8                THE COURT:     All right.        So Mr. Ceraolo, you

 9   understand you have a right to a speedy trial?

10                THE DEFENDANT:        Yes, your Honor.

11                THE COURT:     And that means that the government

12   has to bring your case to trial within 70 days of today

13   which is the day you're arraigned on the charges.                    And

14   what you're agreeing to do is not to start that 70-day

15   period today but to wait until September 7th to do so and

16   to exclude the time in between.             Do you understand?

17                THE DEFENDANT:        Yes, your Honor.
18                THE COURT:     Are you making this decision

19   voluntarily?

20                THE DEFENDANT:        Yes, your Honor.

21                THE COURT:     Has anybody forced you, threatened

22   you, or made you any promises?

23                THE DEFENDANT:        No, your Honor.

24                THE COURT:     Okay.      And did you sign this

25   document?




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 1                THE DEFENDANT:        Yes, your Honor.

 2                THE COURT:     And I have in front of me an

 3   application, an order of excludable delay, and there's a

 4   signature above the defendant's line and it says Nicholas

 5   Ceraolo.

 6                THE DEFENDANT:        Yes.

 7                THE COURT:     Okay.      The application is granted.

 8                             (Matter concluded)

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                   C     E     R   T   I    F     I     C   A    T     E



                       I, MARY GRECO, hereby certify that the

       foregoing transcript of the said proceedings is a true

       and accurate transcript from the electronic sound-

       recording of the proceedings reduced to typewriting in

       the above-entitled matter.



                       I FURTHER CERTIFY that I am not a relative or

       employee or attorney or counsel of any of the parties,

       nor a relative or employee of such attorney or counsel,

       or financially interested directly or indirectly in

       this action.



                       IN WITNESS WHEREOF, I hereunto set my hand

       this 18th day of March, 2024.




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